
755 So.2d 891 (2000)
William HARGIS and Timothy Hargis By and Through Their Next Of Kin Ms. Mary Krey
v.
JEFFERSON PARISH, Louisiana, Jefferson Parish Department of Public Utilities, Jefferson Parish Water Department, et al.
No. 2000-C-0072.
Supreme Court of Louisiana.
March 17, 2000.
Rehearing Denied May 5, 2000.
Granted. Judgments of the courts blow dismissing plaintiffs' suit on ground of abandonment are reversed. Case remanded to the district court for further proceedings.
VICTORY, J., not on panel; TRAYLOR, J., would deny the writ.
